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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JAMES GARAVAGLIA,                          )
                                           )
         Plaintiff,                        )
                                           )       Case No. __________________
vs.                                        )
                                           )
CITY OF ST. LOUIS,                         )
Serve:                                     )       JURY TRIAL DEMANDED
       Mayor Lyda Krewson                  )
       City Hall, Room 200                 )
       1200 Market Street                  )
       St. Louis, MO 63103                 )
and                                        )
                                           )
DARLENE GREEN,                             )
Serve at Place of Employment:              )
      Office of the Comptroller            )
      City Hall, Room 212                  )
      1200 Market Street                   )
      Saint Louis, Missouri 63103          )
                                           )
         Defendants.                       )


                      COMPLAINT FOR EMPLOYMENT DISCRIMINATION

         Comes now plaintiff James Garavaglia (“plaintiff”) and for his claims against

defendant City of St. Louis (“the City”) and defendant Darlene Green (“defendant Green”)

(collectively referred to as “defendants”), states:

                                JURISDICTION AND VENUE

         1.      This is an action under: (1) the Age Discrimination in Employment Act, 29

U.S.C. §§621 et seq., as amended (“ADEA”), (2) the Civil Rights Act of 1991, 42

U.S.C.§§1981 et seq., as amended (“§1981"), (3) Title VII of the Civil Rights Act of 1964,


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42 U.S.C.§§2000e et seq., as amended (“Title VII”); and the Missouri Human Rights Act,

§213.055 & §213.111, RSMo. (“MHRA”) — to correct unlawful employment practices and

discrimination because of, age, sex/gender, and race, and to provide appropriate relief to

plaintiff who was adversely affected by such practices.

       2.     Subject matter jurisdiction of this Court over the federal questions presented

under the ADEA, §1981, and Title VII is invoked pursuant to 28 U.S.C., §§1331 and 1343.

This Court has supplemental jurisdiction over plaintiff’s claims arising under the MHRA

pursuant to 28 U.S.C.'1367(a) because these claims are so related to plaintiff’s claims

under federal law that they form a part of the same case or controversy and derive from

a common nucleus of operative facts.

       3.     The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Eastern District of Missouri, Eastern

Division.

                                         PARTIES

       4      Plaintiff is currently over 40 years of age, is a Caucasian male, and is a

resident of St. Louis, Missouri.

       5.     The City is a municipal corporation organized and existing under the laws

of the State of Missouri.

       6.     Defendant Green is an African-American female, a resident of the City of

St. Louis, and at all times mentioned herein, the Comptroller of defendant City.

                                   STATEMENT OF CLAIMS

       7.     Upon his appointment to the position of Deputy Comptroller, plaintiff worked


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under contract for defendant City for approximately 32 years; the last 3 years of which he

held the title of Deputy Comptroller.

        8.      Immediately following his appointment to Deputy Comptroller, defendant

Green, plaintiff’s direct supervisor and appointing authority, suggested to plaintiff that he

should retire in a couple of years; however, plaintiff had given no indication he intended

to retire in that time frame.

        9.      Because of plaintiff’s age, gender and/or race, defendant Green continued

to pressure plaintiff to retire in the years following his appointment and refused to provide

him with a required annual civil service rating of his work performance for any of the years

he served as Deputy Comptroller.

        10.     On numerous occasions, defendant Green expressed her preference for

younger African-America female employees in the Comptroller=s office, either directly to

plaintiff or in front of plaintiff for plaintiff to overhear.

        11.     In approximately April 2019, defendant Green directly questioned both

plaintiff and another white female employee, the deputy Comptroller of Accounting

Services, about their intentions to remain in their current positions, and plaintiff expressly

stated he intended to continue working at least through defendant Green=s remaining term

or election which ended in April 2021.

        12.     On July 2, 2019, plaintiff was placed on forced administrative leave by

defendant Green, without good cause, and plaintiff was provided no explanation or basis

for the action.

        13.     Defendant Green placed plaintiff on forced leave with the intent of auditing


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audit him in order to obtain and prepare a pretextual reason to justify plaintiff’s termination,

and/or with the intent to harass plaintiff and induce him to retire or resign -- so that she

could then replace plaintiff as Deputy Comptroller with a younger African-American

female employee.

       14.    Plaintiff appealed his forced leave to defendant’s Civil Service Commission

for the City of St. Louis, and, in order to avoid any inquiry into the basis for his placement

on forced unpaid leave at an evidentiary hearing, defendant Green thereafter rescinded

and withdrew plaintiff=s forced leave.

       15.    Almost immediately after defendant Green withdrew her placement of

plaintiff on forced leave, defendant Green again placed plaintiff back on forced leave, and

plaintiff then appealed yet again to the Civil Service Commission.

       16.    Defendant Green then withdrew plaintiff’s forced leave yet again; repeating

this conduct for the third separate occasion, necessitating plaintiff filing multiple appeals

to the Civil Service Commission.

       17     The City’s Director of Personnel approved the forced leave each time

knowing that there was no supportable basis for each forced leave.

       18.    Throughout plaintiff=s tenure as Deputy Comptroller, plaintiff was subjected

to a pattern of discriminatory treatment and harassment by defendants, motivated by their

efforts to find a non-discriminatory basis as pretext to justify plaintiff=s termination while

intending to replace plaintiff with a younger African-American female employee.

       19.    In or around early September 2019, plaintiff received notice of a pre-

termination hearing scheduled by defendant Green for September 12, 2019.


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       20.    After plaintiff received such notice and before September 12, 2019, and due

to the intolerable continued harassment and fundamental oppressive working conditions

created by defendant, plaintiff then filed for his retirement, effective October 1, 2019; and

defendant thereupon canceled the upcoming pre-termination hearing.

       21.    Defendants constructively discharged plaintiff, in that: (1) a reasonable

person in plaintiff’s position would have found his working conditions – including but not

limited to repeatedly placing plaintiff on forced leave without good cause and then

withdrawing or rescinding such forced leaves, and refusing to provide required annual

civil service ratings of his work performance, and other working conditions – to be

intolerable; (2) such conditions were created by defendants’ actions, as alleged above,

which were motivated by defendants’ intent to discriminate against plaintiff because of his

age, sex/gender, and/or his race; and plaintiff’s involuntary retirement directly resulted

from such intolerable working conditions.

       22.    After wrongfully discharging plaintiff, defendants replaced plaintiff with a

substantially younger African-American female employee.

       23.    Plaintiffs’ age, sex/gender, and/or race were motivating factors in

defendants’ discriminatory acts as set forth above; and/or but for plaintiff’s race, he would

not have suffered the loss of a legally protected right not to be discriminated against, as

set forth above, by defendants.

       24.    As a proximate result of defendants= conduct, plaintiff has lost, and will

continue to lose, compensation and benefits of employment, including but not limited to

the loss of income and benefits; and has, and will continue to, suffer emotional pain,


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humiliation, embarrassment, mental anguish, and loss of enjoyment of life.

        25.   Defendants= actions were intentional, willful, wanton, malicious and/or

outrageous because of their evil motive and/or reckless indifference to the rights of

plaintiff under the ADEA, §1981, Title VII, and the MHRA, entitling plaintiff to punitive

damages.

        26.   As a proximate result of defendants= conduct, plaintiff does not have an

adequate remedy at law and is entitled to equitable relief, including a permanent

injunction, declaratory judgment, reinstatement and back pay, and/or front pay.

        27.   As a proximate result of defendants= conduct, plaintiff has incurred and will

continue to incur reasonable attorney=s fees and costs in the prosecution of his age,

gender, and race discrimination claims.

        28.   On December 8, 2019, plaintiff timely filed charges of discrimination (within

300 days of defendants’ last act of discrimination) with the Equal Employment Opportunity

Commission (AEEOC@) alleging that defendants wrongfully and illegally terminated his

employment because of his race, gender, and/or age; and opened its file number 560-

2020-00205.

        29.   On September 1, 2020, the EEOC issued plaintiff a right-to-sue letter, and

plaintiff has met all procedural prerequisites for bringing his claims under the ADEA and

Title VII.

        30.   The Missouri Commission on Human Rights (“MCHR”) has a statutory work-

sharing agreement/relationship with the EEOC; and upon the filing of plaintiff’s charge of

discrimination with the EEOC on December 8, 2019, the MCHR opened its own file on


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the foregoing charges under its file number FE-12/19-31418; and plaintiff has duly

requested a right-to-sue letter from the MCHR and has been informed by the MCHR that

it will be issuing the same forthwith; and plaintiff has met all procedural prerequisites for

bringing his claims under the MHRA.

       WHEREFORE, plaintiff respectfully prays this Court to enter judgment in favor of

plaintiff and against defendants, to include the following:

       A.     To declare that the rights of plaintiff under the ADEA, §1981, Title VII, and

              the MHRA have been violated by the acts and practices of defendants, as

              alleged hereinabove;

       B.     To permanently enjoin defendants, their officers, subordinates, agents,

              employees, successors and assigns and all persons acting in concert or

              participating with defendants from engaging in any employment practice

              which discriminates against persons because of their race, gender, or age,

              in violation of the ADEA, §1981, Title VII, and the MHRA, including plaintiff;

       C.     To order defendants to reinstate and provide back pay to plaintiff,

              retroactive to October 1, 2019; or in lieu of reinstatement, to award plaintiff

              reasonable front pay;

       D.     To award plaintiff compensatory damages in the amount of all wages and

              other benefits lost as a result of defendants= unlawful acts, together with

              pre-judgment and post-judgment interest;

       E.     To award plaintiff such sums sufficient to compensate her for his emotional

              pain, suffering, mental anguish, inconvenience, embarrassment and loss of


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          esteem;

   F.     To award plaintiff such sums as permitted by law as and for punitive

          damages;

   G.     To award plaintiff his reasonable attorney=s fees and expenses incurred in

          the prosecution of this petition, as provided by law, together with his costs

          and expenses herein incurred; and

   H.     For such other and further relief as this Court deems just and equitable in

          the premises and as necessary to effectuate the terms of the judgment.

                               JURY TRIAL DEMAND

   Plaintiff requests a jury trial on all questions of fact raised by its complaint.

                                        Respectfully Submitted,

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